Case 5:23-cv-03260-HLT-ADM Document 1-4 Filed 12/28/23 Page 1of1

[FORMAL ResokuTIOND

Form ?
For Cellhouse Transfer GK J 50M
Work Assignment Last Name Only
Interview Requests
KANSAS DEPARTMENT OF CORRECTIONS
IFES
Number

OFFENDER REQUEST TO STAFF MEMBER
Te: “i Lin Jon i Date: Vinuidtiy Ai, A) Ke

(Mame and Title of Officer or Department)
State completely but briefly the problem on which you desire assistance. (Be specific.)

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Work Assignment: Living Unit Assignment: 43 ASE
Comment: . Detail or C.H. Officer:
Disposition:
To: GAvissam 437 28 Date: _|- 27-20 ZO

(Name & Number)

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